        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 1 of 24




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-mj-00403 (RMM)
       v.                                     :
                                              :
LANDON KENNETH COPELAND,                      :
                                              :
               Defendants.                    :

   GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION

       In the three months since his arrest for offenses at the U.S. Capitol on January 6, 2021, the

defendant has made clear that he poses a danger to the community and that he will not abide by

conditions of release. He has spoken at length to members of the news media about both his

conduct on January 6, 2021, in Washington, D.C., and his conduct on May 6, 2021, when he

violated his conditions of release. The defendant views all of his conduct, on both dates, as

justified. In his own words, if given the chance to go back in time to January 6, 2021, the defendant

would choose—again—to assault members of law enforcement:

       The Defendant:                 Whatever the cost, I would willingly do it again for
                                      the people I love.
       Reporter:                      Okay. You’d do it again? You’d go back to D.C.?
       The Defendant:                 I would do it all again for the people that I love. To
                                      defend those people against the attacks they were
                                      receiving? I would do it all again. To defend my
                                      people from the laws of tyranny that had been made?
                                      I would do it all again.

The defendant also views conditions of release, generally, as unjustified infringements on his

liberty. He has demonstrated that he will not abide by them and has falsely denied threatening the

pretrial services officer on May 6. The defendant shows no interest in or willingness to reflect on

his conduct, or to conform his behavior to the requirements of supervision. Accordingly, the Court

should find that “no condition or combination of conditions will reasonably assure . . . the safety

                                                  1
         Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 2 of 24




of any other person and the community,” 18 U.S.C. §3142(e), should further find that he has

violated the conditions of his release, pursuant to 18 U.S.C. §3142(b), and should order him

detained pending trial.

    A. Factual background

            A. The offense

         On January 6, 2021, thousands of rioters descended upon the U.S. Capitol in an effort to

disrupt the peaceful transfer of power after the November 3, 2020, Presidential election. The

defendant was among them. The government’s evidence does not show that he entered the Capitol

building; rather, he remained on the grounds and joined with the rioters who attacked law

enforcement officers.

         For the defendant, this was not a spur-of-the-moment trip. He lives in a community on the

Utah / Arizona border known as Short Creek, about 2,300 miles from the Capitol building. 1 To be

present in Washington, D.C. on January 6, 2021, the defendant took a week’s vacation from work

and drove across the country. On January 6, 2021, following the former President’s rally at the

White House, the defendant traveled to the U.S. Capitol grounds. There, in an area near the Lower

West Terrace, he assaulted law enforcement officers. The defendant’s actions were captured on

video.

         The defendant appeared to be part of a group that was trying to breach the police line. At

the front of this crowd, the defendant shouted at the officers; he was visibly angry. Shortly

thereafter, another rioter approached a police officer, began shouting at the officer, and put his

hands on or around the officer’s neck. Copeland pushed that other rioter, from behind, into the




1
 “Short Creek” includes the encompasses the border cities of Colorado City, Arizona and Hildale,
Utah.
                                                 2
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 3 of 24




officer, causing that officer to fall to the ground. After this, other officers stepped forward in an

apparent attempt to protect the fallen officer. Copeland grappled with and pushed them, grabbing

onto one officer’s riot shield, another officer’s jacket, and then pushing against the riot shields of

two other officers.

       On another occasion, the defendant and other rioters had grabbed a metal fence serving as

a barricade and tried to pull that barricade away from law enforcement officers. Body-worn camera

footage reveals that, immediately before the defendant grabbed the barricade, it was stationary,

with its base “feet” on the ground. Another rioter grabbed at the barricade, knocking it over, and

the defendant immediately sought to help take it away from the police. This led to a struggle over

the barricade between multiple officers and multiple rioters, including the defendant. One or more

of the officers deployed OC spray against those rioters, including the defendant. In response, the

defendant pushed or threw the fence toward multiple law enforcement officers.

           B. The Defendant’s Interview with FBI and Arrest

       On February 11, 2021, the FBI interviewed the defendant in southern Utah. The defendant

admitted that he traveled to Washington, D.C. to attend the former President’s rally on January 6,

2021, and that he was present in a crowd of people outside the Capitol building. The defendant

identified himself in the photographs which are embedded in the criminal complaint and in the

videos from which those photographs were taken. He admitted to fighting with police officers and

told the FBI that police officers were trying to “penetrate the line” of protesters and “steal”

individual members of the crowd, including one person who the defendant described as having

been shot in the face by an officer. The defendant said that he did not enter the Capitol building on

January 6, 2021.




                                                  3
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 4 of 24




       The FBI later learned that, shortly before this interview, the defendant sent the following

text message to a group of friends: “To all of you out there please keep your rifles loaded and your

heads down. I go to meet with the FBI in 15 minutes. Thanks for the portion of my life I shared

with you. May god bless you and your lovely family. I don't know what's gonna happen in here

but please don't let them steal my truck and stuff. Its parked on the third floor of the parking garage

on the west side. The address is 20 N Main St, St. George, UT, 84770. Sincerely, Former US

Army SGT. Landon K. Copeland”

       The defendant voluntarily surrendered to the FBI on April 28, 2021 and made his initial

appearance before a magistrate judge in Utah on April 29. In a Facebook post on April 28, 2021,

before his initial appearance, the defendant wrote “So that everyone knows I go to see the FBI and

a judge tomorrow. I guess peacefully protesting at the Capitol is now illegal and they are trying to

hunt us all down to try and teach us a lesson. Unfortunately only one option remains when we

return. We bring guns and take the Capitol building without intention of being peaceful. This ends

with the government bombing their own people. I had hopes it wouldn’t. But here we are.”

           C. The May 6, 2021 Hearing

       On May 6, 2021, the defendant appeared before this Court for his initial appearance in

Washington, D.C. Six other defendants were also scheduled for initial appearances in cases arising

out of the January 6, 2021, riot at the Capitol; defendant Copeland’s hearing was scheduled seventh

and last. The defendant spoke throughout the hearings, often interrupting the hearings for the other

defendants.

       During a general colloquy with all defendants, explaining the day’s procedure, the

defendant interrupted the Court to ask “At what point am I a free individual versus a pre-trial

confined individual?” United States v. Landon Kenneth Copeland, 1:21-cr-00403 (RMM), Tr.



                                                  4
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 5 of 24




05/06/2021 at 7. The Courtroom Deputy admonished the defendant, telling him that “we can’t

have these interruptions or we are not going to get through the calendar today.” Id. at 9. Defense

counsel asked for the defendant to be “mute[d] … until his case is called,” and the defendant

replied, “No! No! No! No! No! No! No! No! I will keep my mouth shut. I promise.” Id.

       The defendant broke his promise, moments later, when he interrupted the Court to ask “[i]s

any of this negotiable?” Id. at 10. During the first hearing, for defendant Antonio, the defendant

interrupted to object when counsel for Mr. Antonio claimed that his client became hooked on Fox

News and acquired “Foxitis or Foxmania.” United States v. Anthony Alexander Antonio, 1:21-mj-

00375, Tr. 05/06/2021 at 18-19. The defendant interrupted Mr. Antonio’s counsel again, moments

later; the Court directed that the Courtroom Deputy mute him. Id. at 19-20. During the second

hearing, the defendant interrupted to ask the Court for an email address. United States v. William

Tryon, 1:21-mj-00320, Tr. 05/06/2021 at 22-23. During the third hearing, the defendant did not

have himself muted, and noise could be heard through his phone. United States v. Albuquerque

Cosper Head, 1:21-cr-00291, Tr. 05/06/2021 at 14, 23. He also interrupted the hearing to volunteer

that he was still present. Id. at 24. The next three hearings passed without interruption from Mr.

Copeland.2

       Once his own hearing began, the defendant was immediately combative with the Court.

The hearing began with the following exchange:

       The Defendant:         Before we get started, how long can I postpone this thing?

       The Court:             You’re scheduled for this hearing to go forward.

       The Defendant:         Well, I need – [Inaudible] – and I need a bunch of stuff, and
                              I’m a veteran and you owe this to me. And I don’t like you


2
 United States v. Esther Schwemmer, 1:21-mj-00377, Tr. 05/06/2021; United States v. Jennifer
Ruth Parks, 1:21-mj-00378, Tr. 05/06/2021; and United States v. Elijah Yazdani, 1:21-mj-00406,
Tr. 05/06/2021.
                                                5
         Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 6 of 24




                               people. You telling us what to do and pointing guns at us and
                               stuff. I need some help. You people done just fucked this
                               thing up somehow.

       The Court:              Mr. Copeland, first of all –

       The Defendant:          -- I don’t know who you are but you are a robot to me. I am
                               clear out here in the middle of the desert, in no man’s land.
                               You can’t come get me if I don’t want you to. You can’t
                               come kill me if I don’t want you to. You can’t take nothing
                               from me that I don’t want you to. So I am going to say this,
                               you are going to give me a psych eval. You are going to give
                               me all kinds of shit. You are going to give me everything to
                               protect my rights and make sure I am a stable individual that
                               doesn’t like his Government coming and pointing guns at
                               him and fucking stealing all of his money; 70 percent. Seven
                               zero percent of my income returns to my Government
                               through wealth distribution plans, through child support,
                               through taxes. Fuck all of you. And I make $15 an hour. Fuck
                               all of you. I am telling you what, come fuck with me.

       The Court:              Mr. Copeland. Mr. Copeland. Ms. Kay, could you mute Mr.
                               Copeland?

       The Defendant:          Come get me fuckers. Come get me!

United States v. Landon Kenneth Copeland, 1:21-cr-00403 (RMM), Tr. 05/06/2021 at 15-16. The

defendant again interrupted the Court, and swore at the Court, after the Court proposed a break to

allow the defendant to speak privately with his attorney. Id. at 19. Then, when the matter was

recalled, he became incensed that the Court was using the “wrong” case number (i.e., the D.C.

case number, instead of the Utah case number), appeared to suggest this was part of a coverup,

and swore at the Court again. Id. at 20-21. He disconnected from the hearing after his attorney

claimed he was in crisis, id. at 24, then called back to swear at the court again, accuse “[y]ou guys”

(presumably, the Government and Court) of “killing your own people,” and then hung up again.

Id. at 30-31.




                                                  6
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 7 of 24




           D. The Defendant’s May 6, 2021 Threats Against His Pretrial Services Officer

       At some point during the May 6, 2021 hearings, the defendant called his Pretrial Services

Officer in Utah (“the PSO”). The defendant told the PSO that “I want to speak” and “I want to be

heard”; he also said that he was at the edge of a cliff and “ready to finish it.” (PSO Report at 1.)

After the hearing, the defendant sent his PSO a text message saying “Tell them I want to speak, or

I will die for it!” He went on to say “If they issue a warrant, they will have to come and get me,

and it won’t be easy.” Id.

       During the hearing, the defendant drove to the PSO’s office. While on his way to the office,

the defendant called the PSO and told the PSO that the Court had cut him off, and he was coming

to the PSO’s office so that they (Pretrial) could make the Court listen. After he arrived, he spoke

with the PSO through the security glass barrier. Id. The defendant began ranting about government

conspiracies and claimed that everything was being taken from him, and the government was out

to get him. Id. At times, he banged his head against the glass and pressed his face against the glass.

Id. He told the PSO that “If I was on the other side of this glass, I would eat you from the inside

out because I am starving,” and went on to say “Fuck all of you, and fuck every single one of you.”

Id. This behavior continued for approximately 15 minutes, after which time another PSO told the

defendant that the day was over and the staff had to leave. Id. According to the PSO, the defendant

departed and the PSOs were able to leave without incident. 3

       This defendant’s behavior prompted the PSO to submit a report arguing that “the U.S.

Probation Office does not believe that any single condition or set of conditions can minimize the

risk this defendant poses to officers and to the community at large.” (Id. at 2.) The PSO opined



3
 The PSO informed the government that when they learned that the defendant was coming to the
office, they had called the U.S. Marshal’s Service. A Deputy U.S. Marshal sat outside of the office
and watched the defendant leave.
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        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 8 of 24




that the defendant might hurt or kill someone if allowed to remain on release. (Id.) In response to

this report, Magistrate Judge Kohler issued a warrant for the defendant’s arrest.

           E. The Defendant’s Arrest and the May 12 Hearing

       The defendant was arrested on May 11, 2021 and appeared before Magistrate Judge Kohler

on May 12. At the hearing, and without prompting, the defendant explained one of his outbursts

during the May 6 hearing. He volunteered that his actions were “intentional,” and said that “they”

[the attorney who claimed his client had “Foxitis”] “lambasted 250,000,000 people as having some

sort of mental disease that tune into the Tucker Carlson nightly news show every night. I couldn’t

stand for that, Your Honor.” United States v. Landon Kenneth Copeland, 4:21-mj-00030 (PK), Tr.

05/12/2021 at 4-5.4

           F. The Defendant’s Subsequent Interviews

       On May 14, 2021, the defendant interviewed with reporter Nate Carlisle of Fox 13, which

is based in Utah. They spoke for at least 45 minutes. On June 4, 2021, the defendant interviewed

with Scott MacFarlane of NBC Washington. They spoke for approximately 30 minutes. In both

interviews, the defendant spoke about his conduct on January 6, his motivations for traveling to

the Capitol, and the events of May 6. Because the interviews substantially overlap in substance,

this memorandum organizes them by topic area, below.

               a. The Defendant’s Statements about his Conduct on January 6, 2021

       The defendant admitted to physical interactions with law enforcement officers, although

he said that he “[didn’t] think [he] committed a crime.” He added that “you know, I have the




4
 According to Forbes.com, the Tucker Carlson show has an average audience of more than three
million viewers—a large number, but far short of 250 million.
https://www.forbes.com/sites/markjoyella/2021/04/27/tucker-carlson-leads-fox-news-to-big-win-
in-april-prime-time-ratings/?sh=1a9bc6a76cb2
                                                 8
          Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 9 of 24




capability of where I could have hurt those other individuals [the officers]. But I didn’t hurt them.”

The defendant further explained that he clashed with officers because he saw them “stealing”

members of the crowd, and then made clear that he was using the word “steal” to mean “arrest”:

         To me, that’s stealing people like that, arresting them. To me, I call it stealing
         people. Because you literally steal them out of their life. Because they arrested me
         now, I literally won’t get to see the birth of my daughter on July 25.

The defendant claimed that a person standing near him was shot in the face, and after this, an

officer instructed another nearby individual to “come with me.” When the officer reached out to

touch this person, the defendant “lost control and started forcing [the officers] out of the crowd

toward their own police line.” According to the defendant, one officer started hitting him in the

legs with a baton; he took the baton. Another officer pushed him with a riot shield; he took the

shield. The defendant said that, thereafter, he was shot in the back with a rubber ball grenade. He

decided that “I’m going to get myself killed if I don’t stop”; found his girlfriend, who had

accompanied him on the trip; and left.

         The defendant also admitted to struggling with officers over a crowd control gate. He

claimed that the officers were holding the gate up and using the feet to stab at people, so he and

another person tried to take it from them.5 When the officers deployed pepper spray, the defendant

picked up the crowd control gate and tried to toss it over them.

         Speaking with Mr. MacFarlane, the defendant also justified his behavior by comparison to

a famous instance of police brutality. After hearing the defendant’s explanation of what happened,

Mr. MacFarlane asked, “but they’re the police, though. You understand that part of it.” The

defendant replied “Well I do understand they’re the police, but at the same time, it was a cop who




5
    Body-worn camera footage disproves this claim.
                                                  9
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 10 of 24




killed Derek Chauvin.6 I mean, am I supposed to just let them go around and kneel on everybody’s

neck, and stand there and watch them, until they’re dead?”

               b. The Defendant’s Reasons for Travel to the Capitol

       The defendant said that he traveled to the Capitol in part because former President Trump

ordered him and others to be there.7 He estimated that, on the day of the riot, the crowd numbered

between three and five million people. Despite his perception of the crowd’s size, the defendant

claimed to expect that he and members of the crowd could simply enter the building, sit down with

Members of Congress, and say “let’s just discuss the election, and what’s happened … let’s

postpone this thing momentarily so we can have a true investigation into the voter fraud.” The

defendant said he was surprised to be stopped outside the Capitol by law enforcement, and asked

why he couldn’t get in, saying “It [the building] doesn’t belong to you. It belongs to us, the people.”

       The defendant also repeatedly referred to Members of Congress as authoritarians, and U.S.

law as tyranny. He referred to police as the “dogmen” of a tyrannical government. He claimed that,

in light of the former President’s request that his supporters to go to the Capitol, law enforcement

did not have the authority to bar visitors. He also claimed that the person who ordered visitors

barred “is the murderer of Ms. Ashli Babbitt.” But in spite of these incendiary claims, the defendant

also maintained that if he had the opportunity to speak with Members of Congress, and those

Members told him that they would certify the electoral vote despite his objection, he would have

walked out of the Capitol building and felt better for being heard.




6
  Obviously, this was an error: earlier this year, Derek Chauvin, a police officer, was convicted of
murdering George Floyd.
7
  At other times, the defendant said he wanted to confront lawmakers about police brutality, and
also wanted to tell them “we’re not getting what we want from [you], we want less limitations on
our business and on our private lives.”
                                                  10
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 11 of 24




                c. The Defendant’s Account of May 6, 2021

        The defendant explained that he became angry during the May 6 hearing before this Court

because “they” were “allowed to appeal to the left-leaning biases of that Court so heavily.” By

this, the defendant referred to a moment in United States v. Antonio, 1:21-mj-00375, when defense

counsel claimed that Mr. Antonio had “Foxitis.” Copeland added that this comment was “spitting

in the face of the 258 million people that tune in to the Tucker Carlson show,” that Fox News is

the most watched news station on Earth, and that this attorney was allowed to lambaste all of Fox

News’ viewers without objection from the judge or any of the other attorneys present.

        The defendant also claimed he did not threaten his PSO. He acknowledged speaking to the

PSO, and said “I can give you the verbatim quote. It was ‘I would eat your flesh for nutrients. I

don’t think you know what I am.’” The defendant failed to explain how this language was less

threatening, or indeed different in substance at all, from what the PSO reported. Instead, he

maintained that “I was well within my First Amendment rights in speaking to him the way I did.”

        When a reporter asked the defendant if he planned to stay quiet for the rest of the court

hearings in his case, the defendant replied, “Well, absolutely, so long as they don’t attack people

with false allegations, including myself.” The interviewer pointed out that the defendant was

“leaving a big hole there, because one of the things they work out in court is what the facts are.”

To which the defendant replied, “Well, I mean, as long as you know what the facts are, and you

state only the facts, I remain pleasant. But as soon as you don’t state facts . . .”

                d. The Defendant’s Statements about Government Authority Generally

        Throughout the interview, the defendant repeatedly expressed opposition to the authority

of various government actors. He described his pretrial release as “punishment without

conviction,” and said that he “feel[s] like there’s a bunch of federal laws against that.” He also



                                                  11
       Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 12 of 24




claimed that his ongoing child support obligations were unfair treatment of him specifically, and

like cases represented unfair treatment of men generally.

   B. Analysis

       The Bail Reform Act, 18 U.S.C. § 3141 et seq., authorizes the detention of defendants

awaiting trial on a federal offense under certain, limited circumstances. The procedural posture of

this case is somewhat unusual. On April 29, 2021, the defendant was released by Magistrate Judge

Kohler with instructions to appear, virtually, before this Court on May 6. The defendant began his

initial appearance before this Court on May 6, but never completed it due to the conduct described

above. This Court, therefore, never ordered conditions of release. But, because of the defendant’s

threats against his PSO, the PSO sought revocation before Judge Kohler, who issued a warrant for

the defendant’s arrest. The defendant was arrested on May 12, 2021, and appeared before Judge

Kohler, who issued a temporary order of detention. United States v. Landon Kenneth Copeland,

4:21-mj-00030 (PK), Dkt. 11-12. The defendant appeared before Judge Kohler again on May 17,

2021. The defendant did not admit or deny the PSO’s revocation request, and Judge Kohler issued

an order of temporary detention pending the defendant’s appearance in Washington, D.C. Id., Dkt.

15, 17. The undersigned recalls that Judge Kohler intended to allow this Court to have the final

say on the defendant’s detention or release. But, since the defendant’s arrest, this Court has been

dealing with issues of competence. The Court never concluded the defendant’s initial appearance,

and therefore never imposed conditions of release.

        Accordingly, here, the government seeks detention under two provisions of the Bail

Reform Act. First, it seeks detention pursuant to 18 U.S.C. § 3142(f)(1)(A), because the defendant

is charged with a crime of violence. Second, the government seeks revocation of the defendant’s

release under 18 U.S.C. § 3148(b), because the defendant violated his conditions of release by



                                                12
         Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 13 of 24




threatening his PSO. Either statute supports the defendant’s detention. And, as outlined below, a

presumption in favor of detention exists under either provision.

        As to detention pursuant to § 3142(f)(1)(A), a crime of violence includes, among other

things “an offense that has as an element of the offense the use, attempted use, or threatened use

of physical force against the person or property of another.” 18 U.S.C. § 3156(a)(4)(A). Here, that

test is met: the defendant is charged with violations of 18 U.S.C. § 111(a)(1) and 231(a)(3). The

charging language in the complaint specifically alleges that the defendant’s conduct as to the

111(a)(1) count involved “physical contact with the victims and the intent to commit another

felony,” and further alleges as to the 231(a)(3) count that the defendant “commit[ted] an act to

obstruct, impede, and interfere with law enforcement officials lawfully engaged in the performance

of their official duties . . . .”

        Where the act authorizes pretrial detention, the judicial officer must hold a hearing to

determine whether there are conditions of release that would reasonably assure the appearance of

the defendant as required and the safety of any other person and the community. 18 U.S.C.

§ 3142(f). If the judicial officer finds that “no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and

the community,” the judicial officer shall order the person detained pending trial. § 3142(e)(1). A

finding that no condition or combination of conditions would reasonably ensure the safety of any

other person and the community must be supported by clear and convincing evidence. § 3142(f).

        In some cases, Bail Reform Act establishes a rebuttable presumption that no condition or

combination of conditions will reasonably assure the safety of any other person and the

community. § 3142(e). As noted below, at the time of this offense, the defendant was on release

pending trial for three sets of local offenses, which gives rise to such a rebuttable presumption



                                                13
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 14 of 24




here. § 3142(e)(1)(A). But even if the presumption did not apply, the factors set forth in § 3142(g)

strongly support pretrial detention. Those factors include “(1) the nature and circumstances of the

offense charged . . . ; (2) the weight of the evidence against the person; (3) the history and

characteristics of the person . . . ; and (4), the nature and seriousness of the danger to any person

or the community that would be posed by the person’s release.”

       As to revocation pursuant to § 3148(b), the defendant’s PSO initiated revocation

proceedings on May 6, 2021, following the defendant’s threat. In Utah, Magistrate Judge Kohler

issued a warrant for the defendant’s arrest based on his violation. On May 12, 2021, when the

defendant was brought before Judge Kohler following his arrest, defense counsel sought a hearing

detention hearing in the District of Columbia, and Judge Kohler issued a denial on the defendant’s

behalf to the allegations in the petition for revocation of supervised release. United States v.

Landon Kenneth Copeland, 4:21-cr-00030 (PK), Tr. 05/12/2021 at 11-12. 8

       The Court must order the defendant’s detention if, after a hearing, the Court finds first,

either probable cause that the defendant committed a crime while on release, or clear and

convincing evidence that the defendant violated any other condition of release; and second, either

that there is no condition or combination of conditions that will assure the defendant will not flee

or pose a danger to the safety of any other person and the community, or that the defendant is

unlikely to abide by any condition or combination of conditions of release. 18 U.S.C.

§ 3148(b)(1)(A-B). And, where a person commits a felony while on release, “a rebuttable

presumption arises that no condition or combination of conditions will assure that the person will

not pose a danger to the safety of any other person or the community.” § 3148(b). It is a felony to



8
  It appears that defense counsel may have been requesting a detention hearing pursuant to 18
U.S.C. § 3142(f), but that Judge Kohler may have been anticipating a hearing pursuant to 18 U.S.C.
§ 3148(b). The record is not clear on this point.
                                                 14
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 15 of 24




threaten violence against an officer of the United States while such officer is engaged in the

performance of their official duties, or on account of their official duties. 18 U.S.C. §§ 111(a)(1),

1114. The defendant’s PSO unquestionably falls into this category; if the Court credits his

allegations, the Court would by consequence find probable cause that the defendant committed a

felony on release. This, in turn, would trigger a rebuttable presumption in favor of detention.

           1. Pretrial Detention Pursuant to 18 U.S.C. § 3142(e)

                   a. The Nature and Circumstances of the Offense Charged

       Here, the offense charged is a violent felony: assaulting law enforcement officers. And,

although the defendant claims that he was trying to stop officers from “stealing” members from

the crowd, video evidence makes clear that he was the initial aggressor. He approached the police

line, shouting; he pushed another rioter into an officer, while that rioter had his hands around or

near another officer’s throat. The defendant’s claim that he was protecting others is flatly untrue.

Instead, he started a brawl. The defendant also lied when he claimed that, in the barricade incident,

he was protecting the crowd from officers who were using the barricades as weapons. Instead, the

defendant and another rioter tried to steal a stationary barricade from an officer.

       In his interviews, the defendant offers a variety of justifications for his conduct. But none

of these justifications withstands any scrutiny. He claimed he was defending others, but then made

clear that he was defending them against being arrested, a legitimate police function.9 He claimed



9
  Additionally, the defendant’s statements can be seen as raising a claim that he acted in defense
of another. “[E]very person has the right to use a reasonable amount of force in defense of another
person if he, one, actually believes that the other person is in imminent danger of bodily harm;
two, he has reasonable grounds for that belief; and three, the other person has a right to self-
defense. Lee v. United States, 61 A.3d 655, 658 (D.C. 2013) (emphasis in original); see. Rude v.
Adeboyeku, 552 F. Supp. 2d 32, 36 (D.D.C. 2008) (articulating the same principle in a civil case).
But the other rioters, whom the defendant claims he was protecting, had no general right to resist
arrest by physical force. See United States v. Middleton, 690 F.2d 820, 826 (11th Cir. 1982)
(rejecting self-defense defense against resisting arrest where the defendant presented no evidence
                                                 15
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 16 of 24




he could have hurt officers, but chose not to; as a defense, this statement is farcical. He claimed

that he was following the former President’s orders to be present at the Capitol, and that the officers

were violating orders from their Commander-in-Chief. But this makes no sense. The defendant, a

veteran, had been dishonorably discharged years before this riot. He would have understood that

the police do not answer to the President, that he was no longer a soldier and thus did not take

orders from the President (nor anyone), and that, in any event, a request made at a political rally

was not a military order.10 Instead, it appears that these views were shaped by the defendant’s

ideology: that the government was tyrannical, and the police officers were its dogmen.

       Additionally, the defendant’s the trip to Washington, D.C. took substantial planning. The

defendant traveled from southern Utah, near St. George, to Washington, D.C., a round trip of more

than 4,500 miles. The defendant took a week off work and drove, with others, for three days each

way. Whether or not the defendant planned to fight law enforcement officers, his presence in the

Capitol was not a lark.

       This factor weighs strongly in favor of detention.

                   b. The Weight of the Evidence

       The weight of the evidence in this case is overwhelming. Video captures the defendant

assaulting police officers, and it makes clear that he did not act in self-defense or defense of

another. The government’s evidence thoroughly confirms the defendant’s identity, and the



of unlawful force by officers); cf. United States v. Span, 970 F.2d 573, 579-80 (9th Cir. 1992)
(discussing “limited right to offer reasonable resistance to an arrest that is an officer’s personal
frolic”).
10
   Even if the Court accepts that the defendant was speaking in good faith about his view of the
former President’s supposed orders, this factor would not weigh in favor of release. “If defendant
truly believes that the only reason he participated in an assault on the U.S. Capitol was to comply
with President Trump’s orders, this shows defendant’s inability (or refusal) to exercise his
independent judgment and conform his behavior to the law.” United States v. Chansley, 1:21-cr-
00003 (RCL), Mem. Op. 03/08/21 at at 19-20.
                                                  16
       Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 17 of 24




defendant has admitted that the videos record his conduct. This factor weighs strongly in favor of

detention.

                   c. History and Characteristics

                          1. The Defendant’s Statements about This Offense

       The defendant has spoken at length about his views on this case, his conduct, and his

behavior since arrest. He views his own conduct through the most charitable lens possible, and the

government’s conduct as tyrannical. He views himself as justified in responding to any perceived

slight with anger and physical force. Put simply, these views demonstrate an unwillingness to

conform his conduct to the law or to court orders, an unwillingness to comply with terms of

supervision, and strongly counsel pretrial detention.

       The defendant’s conduct on January 6 already shows a lack of respect for law enforcement

and a willingness to flout their authority. He has violated the terms of his supervised release by

threatening his PSO. And months after his conduct, with time for reflection, he maintained that his

actions were justified, and showed no willingness to see anything problematic about his behavior.

Talking about January 6, he would “do it all again.” Talking about his PSO, he acknowledged

saying “I would eat your flesh for its nutrients. I don’t think you know what I am.” But he claimed

this was not a threat. Instead, the defendant acknowledged these were “inappropriate words, I

suppose,” but maintained he was within his rights to speak this way.

       The defendant also is unwilling to acknowledge how dangerous the riot was. He claimed

“no one really harmed any of those officers.” But, as has been well and extensively documented,

this is false. Information about the damage caused by this riot is readily available to anyone with

an interest in finding it. But as the defendant has demonstrated through his words and conduct, he

would rather believe in his own righteousness than acknowledge the truth.



                                                17
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 18 of 24




       Similarly, the defendant shows no regret for saying things to this Court like “You’re going

to give me what the fuck I want! You’re going to do what the fuck I tell you to do” and “Fuck all

of you all!” He does not even seem to find this language problematic. Instead, he views it as

justified by the Court’s supposed “left-leaning biases,” which he saw in the Court’s (appropriate)

failure to engage with a silly claim raised by a different lawyer in a different case. Indeed, the

defendant claims that when swearing at this Court, he was simply defending others from the mean

things this other lawyer said. And he will only stay quiet at future court hearings “so long as they

don’t attack people with false allegations”—which, in the defendant’s mind, includes the charges

brought against him.

       The defendant also claimed that he, and probably others, would have left peacefully if only

they had the chance to sit down and talk with lawmakers. This beggars belief. The defendant was

motivated, in part, by the false belief that an election was stolen from the former President. Other

rioters too, were motivated by this false belief. The defendant traveled more than 4,500 miles,

round trip, to be present at the Capitol on January 6, 2021. He called the Members of Congress

tyrants, called the officers protecting them dogmen, and assaulted police officers. Other rioters,

who got inside the building, caused property damage and left death threats for members of

Congress. In short, the defendant physically demonstrated what he thought of people representing

the United States government, and how he would have interacted with Members of Congress if

given the chance.

       Finally, the defendant plans to take this case to trial because he doesn’t like policing in

America, recent laws that have been passed, and higher taxation. He thinks a jury will side with

him because “I don’t believe anybody likes what the badge has done to anyone in the last few

years.” The defendant is, of course, entitled to exercise his Constitutional right to a trial by jury.



                                                 18
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 19 of 24




But his political opinions do not present a defense to assaulting police officers during a riot, and

his claim is a non sequitur to the actual questions which a jury will be asked to decide.

       To cast himself as a hero, the defendant has blinded himself to reality. While engaging in

such thorough self-justification, he cannot be trusted to abide by any conditions of pretrial release.

Cf. Chansley, Mem. Op. 03/08/21 at 21 (“The statements the defendant has made to the public

from jail show that defendant does not fully appreciate the severity of the allegations against him.

To the contrary, he believes that he—not the American people or the members of Congress—was

the victim on January 6.”).

                           2. The Defendant’s Other History

       In addition to the defendant’s statements about this offense, other aspects of his history

weigh in favor of pretrial detention. He has a long history of drug use, which shows a history of

violating federal law. See Chansley, Mem. Op. 03/08/21 at 25-26. Indeed, the FBI agent who

arrested the defendant reported that he smelled of marijuana at arrest, and the defendant’s PSO

reported that he smelled of marijuana during his initial interview. He was dishonorably discharged

from the United States Army after being convicted, at court martial, of distributing marijuana and

related offenses. (Dkt. 6 at 5.) In North Dakota, the defendant was convicted of carrying a

concealed weapon (misdemeanor) in 2014, disorderly conduct in 2015, and driving under the

influence (a separate case) in 2015. The defendant also appears to have an open case in North

Dakota, from 2015, for leaving the scene of an accident and related offenses; a warrant was issued

for his failure to appear on October 8, 2015. In Arizona, he has a 2017 conviction for criminal

trespass.11 In Missouri, the defendant was convicted of driving while revoked or suspended in




11
  The information from North Dakota and Arizona does not appear in the D.C. Pretrial Services
Report. (Dkt. 6.) The government verified this information with the defendant’s PSO in Utah.
                                                 19
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 20 of 24




2016, property damage in 2016 (on a separate occasion), and criminal trespass in 2017. (Dkt. 6 at

4.)

       At the time of his offense in Washington, D.C., the defendant had several other, open cases

in Utah. He had a February 15, 2020 matter pending disposition for possession of controlled

substances, a February 22, 2020 matter pending disposition for the violation of a protective order,

and an August 5, 2020 matter pending disposition for possession of a firearm, driving without a

license and possession of an open container of alcohol. The pendency of several cases did not deter

the defendant from traveling to Washington, D.C. and assaulting law enforcement officers. In the

February 15 matter, a warrant was issued on June 16, 2020 for the defendant’s failure to appear;

he did not appear again until February 8, 2021, after his arrest in another Utah case (described

below). Records related to the August 5, 2020 matter reveal that when the defendant’s car was

stopped, the police smelled marijuana emanating from the vehicle, that the defendant was driving

with a suspended license, that there was an open container of alcohol and a loaded .22 caliber rifle

in the vehicle.

       Then, on February 5, 2021, about one month after the Capitol riot, the defendant was

stopped while driving and cited for speeding, driving on a suspended or revoked license, displaying

the wrong plate, and for failure to provide proof of insurance. While the defendant was stopped,

he became argumentative with law enforcement and claimed that he was being harassed. He was

asked to step out of the vehicle and ordered to hand over his keys, but he refused, turned the vehicle

on, and tried to roll up the driver’s side window. Ultimately, the officer was able to arrest the

defendant after shattering the window and ordering him out of the vehicle at gunpoint. During this

traffic stop, the police officer observed a rifle with ammunition. It appears that the defendant was




                                                 20
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 21 of 24




not charged with a weapons offense because the officer could not determine whether there were

conditions prohibiting him from possessing the weapon.

        The defendant has abundantly demonstrated, through his past conduct, that he does not

respect the government’s lawful authority and will not comply with it. This factor weighs strongly

in favor of pretrial detention.

                    d. The Nature and Seriousness of the Danger to Any Other Person and
                       the Community

        The facts discussed above show that, if released, the defendant would represent an ongoing

danger to other people and the community. Showing no remorse for his threats to his PSO, his

release would present a risk of further harassment and threats. If he failed to comply with court

conditions, and law enforcement officers were sent to arrest the defendant, he would represent a

risk to those law enforcement officers. After all, he was not shy about attacking officers on January

6, nor has he been shy about defending his behavior. He perceives law enforcement authority as

illegitimate when he does not agree with its exercise, and views arrests—including his own

arrest—as illegitimately “stealing” people from their lives.

        The defendant’s housing would exacerbate the risk to law enforcement, should they be

placed in a position to arrest him. The defendant lives in multifamily housing in a remote part of

Utah. It would be extremely challenging for the defendant’s PSO to perform any sort of compliance

check at the defendant’s home, especially to see whether drugs or firearms are stored inside, and,

if they are, who possesses them.

            2. Revocation of Release Pursuant to 18 U.S.C. § 3148(b)

        When the defendant threatened his PSO, he also violated the terms of his supervised release

by committing an additional criminal offense. The Court may order him detained, pursuant to 18

U.S.C. § 3148(b), if it finds probable cause that he did so, and then either finds that there is no

                                                 21
        Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 22 of 24




condition or combination of conditions that will assure the defendant will not flee or pose a danger

to any other person and the community, or finds that he is unlikely to abide by any condition or

combination of conditions of supervised release. Although only one of those factors is necessary,

the defendant’s conduct and history supports a finding as to both. The facts and arguments which

support revocation overlap with those set forth above. For clarity of the record, the government

summarizes those arguments without repeating them in full.

                    a. Probable Cause to Believe that the Defendant Has Committed a Crime
                       While on Release

        The Court has a clear basis to find probable cause that the defendant has committed a crime

while on release: his threats to his PSO. The PSO’s sworn statement about the defendant’s words,

together with the circumstances of his behavior on May 6, 2021, clearly make out a threat. Such

testimony is corroborated by the Court’s own experience: it heard the defendant’s words and his

anger throughout the afternoon; those interactions immediately preceded the defendant’s threat.

And the threat was plainly made against a federal officer while he was engaged in the performance

of his official duties, and on account of his official duties. 18 U.S.C. §§ 111(a)(1), 1114.

        While the defendant denied (to the media) that his words constituted a threat, he admitted

to saying words that closely mirrored the words reported by the PSO. Importantly, the defendant

admitted saying that he would “eat [the PSO]’s flesh for nutrients.” It is impossible to see this as

anything but a threat. This factor is met.

                    b. There is No Condition or Combination of Conditions That Will Assure
                       that the Defendant Will Not Pose a Danger to the Safety of Any Other
                       Person and the Community

        This factor overlaps in substance with the finding called for by 18 U.S.C. § 3142(e). For

all of the reasons already articulated, this factor is met.




                                                   22
       Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 23 of 24




                   c. The Defendant is Unlikely to Abide by Any Condition or Combination
                      of Conditions of Release

       Although the defendant’s threat and dangerousness are sufficient to revoke his pretrial

release, the Court also should find that the defendant is unlikely to abide by any condition or

combination of conditions of release. At a minimum, the defendant appears not to possess a valid

driver’s license but has shown through his conduct that he will not stop driving. He has also shown

through his conduct that will continue to possess marijuana, which is a federal offense. He

committed the instant offense while on release pending multiple other matters. He has told the

media that all pretrial restrictions on his liberty are a deprivation of his due process and are

illegitimate. He has invented false stories about police conduct on Capitol grounds to justify his

behavior there. And the defendant was under supervision by his PSO for all of two days before

threatening his PSO. The defendant has demonstrated his unwillingness to comply with any

condition of release; the Court should believe him.




                                                23
       Case 1:21-mj-00403-RMM Document 11 Filed 08/13/21 Page 24 of 24




   C. Conclusion

       For the reasons stated above, the Court should find that no condition or combination of

conditions will reasonably assure the appearance of the defendant as required and the safety of any

other person and the community, pursuant to 18 U.S.C. § 3142(e). Alternately, or additionally, the

Court should order the defendant’s pretrial release revoked, pursuant to 18 U.S.C. § 3148(b). Either

way, the Court should order the defendant detained pending trial.

                                              Respectfully submitted,

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                                                24
